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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE LLP,

                       Plaintffi
                                                       Case No. 1:25-cv-00716 (BAH)
 V
                                                       Judge Beryl A. Howell
 U.S. DEPARTMENT OF JUSTICE, et al.,

                       Defendants




                DECLARATION OF DAVID J. BURMAN IN SUPPORT OF
                      MOTION FOR SUMMARY JUDGMENT

I, David J. Burman, pursuant to 28 U.S.C. S 1746, hereby declare as follows:l

       1.      I am a partner at Perkins Coie LLP ("Perkins Coie"). Perkins Coie is an
intemational law firm that conducts its U.S. operations and activities through a limited liability

partnership, Perkins Coie LLP, with seventeen offices around the country. I have been an attorney

at Perkins Coie for over 45 years, following two years clerking. I am a member in good standing

of the D.C. and Washington bars and have been admitted in many state and federal courts, and I

serve on the Advisory Committee on the Federal Rules of Civil Procedure. I am very familiar with

the fitm's business and operations and was asked as a result to take a lead role in attempting to

assess and contain the damage from the March 6 Executive Order.            I either have personal
knowledge of the facts set forlh in this declaration or I know them from business records and my

knowledge of the firm's history and operations, and the statements herein are consistent with the



I This declaration includes the substance of my prior March 12,2025 declaration in support of
Perkins Coie's motion for temporary restraining order (with minor changes where appropriate),
along with additional information relevant for summary judgment.
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knowledge formed while I was even more directly involved in various aspects of firm

management.

        2.      I currently chair the ftrm's governance task force, and have long and intense
involvement in firm management. I led the commercial litigation practice and first served on the

firm's executive committee by the early 1990s. I then served for six years on the four-partner

management committee. Over the years, I have chaired or served on the firm's hiring,

compensation, pro bono, technology, and strategic conflicts committees as well as two strategic

planning efforts and task forces on practice group structure, total quality management, and role of

non-lawyer professionals. I spearheaded the creation of our Intellectual Property Department and

the opening of our Chicago office, both of which have become among our most successful

initiatives. I have acted as co-lead relationship partner for three of our large institutional clients.

        3.      I submit this Declaration in Support of the Statement of Material Facts As To
Which There Is No Genuine Dispute and Motion for Summary Judgment filed by Perkins Coie. I

am of the age of majority, and I am competent to make this declaration.

A.     Perkins Coie LLP

       4.       Perkins Coie was founded in Seattle by a retiring U.S. District Judge and U.S.

Attorney. Since 1912, Perkins Coie has grown to become the largest law firm in the Pacific

Northwest, has opened offices throughout the United States and in Asia and in Europe, and has

more than 7,200 lawyers.

       5.      The firm represents a wide range of clients, including Fortune 500 companies,

small- and medium-sized businesses, families, individuals, and charitable and public service-

oriented organizations. Perkins Coie alumni have been and are presently serving as state and

federal court judges, judicial law clerks, prosecutors, public defenders, and high-ranking
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govemment officials, as well as founders, CEOs, and General Counsels of some of thenation's

largest and most imporlant companies. Perkins Coie is widely recognized as one of the leading

law firms for technology and other innovative companies, and since our founding, Perkins Coie

has proudly represented a wide range of industry leaders throughout the world.

        6.      Over our 113-year history, Perkins Coie and its lawyers have represented clients in

most if not every state, in federal and state courts across the nation, and in tribunals throughout the

world (including the Supreme Court of the United States), and they have helped to establish major

precedent in state and federal law. The firm is frequently sought out by leading technology and

communications companies who are innovating in areas as varied as artificial intelligence,

telecommunications, and the Intemet of Things. The firm's lawyers are leaders and members of

national, state, and local bar associations around the country. Among other esteemed professional

organizations, its lawyers are members of the American Bar Association, state bar associations for

nearly every state in the country, and local bar associations in such cities and counties as Chicago,

King County, Los Angeles County, Maricopa County, New York City, San Francisco, and

Washington, D.C.

       7.      Perkins Coie has been named as an "Am Law 50" firm on The American Lawyer

l00list for over a decade. The firm and its lawyers are regularly recognized for excellence in the

legal community by Best Lawyers@, Chambers (JSA, and other respected organizatrons, including

national and local bar associations.

       8.      Perkins Coie has approximately 2,500 lawyers and business professionals. Of

those, nearly half are attorneys-including equity pafiners, non-equity partners, and associates-

and halfare business professionals, including paralegals, patent agents, legal assistants, and other

professionals. Our employees are deeply woven into the fabric of their communities. They are
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Sunday school teachers, Scout leaders, youth sports coaches, and volunteers sering on hundreds

of boards of organizations ranging from art museums and food kitchens to major universities, local

schools, and foundations. They include former members of the armed forces, and current reservists

in the U.S. military.

        9.      Perkins Coie's attomeys are drawn from all sides of the political spectrum, and

most of our attorneys are not politically active. There are attorneys who are liberal and attorneys

who are conservative. When Bob Bauer started our small Political Law practice, we were known

in Seattle as, if anything, a "Republican firm." His practice was viewed as an interesting business

opportunity, not a cause. While partner politics have become more balanced, it was always

important that the political practice be respectful of the firm's diversity. Further, many of our

attomeys joined the firm after government service under both Democratic and Republican

administrations, or after serving as judges or judicial law clerks to judges appointed by both

Democratic and Republican presidents. Reflecting this bipartisan ethos, in the past six years, four

current or former Perkins Coie lawyers have been nominated and confirmed to serve as federal

judges-two by President Trump in2079, and two by President Biden in2021 and2023. One

former partner ran for Congress as a Republican, won, and returned to the firm for a time after he

lost re-election. Another partner was elected Washington Attorney General as a Republican.

       10.     Perkins Coie is dedicated to our clients, our communities, and each other. The firm

has a longstanding, firmwide commitment to pro bono service. Since 1989, the firm has provided

approximately 1.45 million hours of pro bono service by attomeys, paralegals, and other business

professionals to innumerable clients, including veterans, indigent families, disabled persons, and

community-based organizations of all sizes, including the League of Women Voters and other

non-partisan organizations, in matters championing human, civil, and electoral rights, housing,
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education, food, benefits, and economic justice. We have frequently been honored for our efforts.

Our pro bono seryice also extends to representing indigent criminal defendants before federal

courts by court appointment and clients on death row in states with limited pro bono resources. In

2024, for example, Perkins Coie lawyers, paralegals, and other business professionals spent over

89,000 hours, valued at nearly $70 million, in pro bono service. Much of our pro bono work

involves advocating for military and veterans' rights.

           1   1.   Perkins Coie has received numerous awards from a wide range of organizations for

its pro bono representation, including state and local bar associations, the U.S. Patent and

Trademark Office 2023 Patent Pro Bono Achievement Certificate, the U.S. District Court for the

District of Arizona 2022 Outstanding Pro Bono Attomey of the Year Award (awarded rn2023),

and the 2023 Yeteran Heroes Law Firm Award by the Attorney General of Washington's Office

of Military and Veteran Legal Assistance.

        12.         Perkins Coie is often recognized for fostering a work environment in which all

lawyers and business professionals are judged on their merit and can reach their potential. Perkins

Coie has been namedto Fortune's "100 Best Companies to Work For" list for over 20 consecutive

years, and our individual offices are often named to similar local lists.

B.     The Firm's Diversity and Inclusion Efforts

        13.         In addition to our representation of clients in this area, Perkins Coie itself has a

longstanding and demonstrable commitment to fostering diversity and inclusion (D&I) within the

firm, the legal profession and community. The firm's commitment is summarized plainly on our

website:

                o "We are intentional and consistent in our efforls to increase the diversity of our
                    workforce and to advance the values of diversity and inclusion in the legal
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               profession. Diversity and inclusion are key to our culture, our values, and our

               business strategy. They are fundamental to the way we connect with and serve our

               clients.";

           .   "Perkins Coie is committed to advancing diversity and inclusion both within the

               firm and throughout our collective communities. We will continue to support and

               participate in efforts to make the legal profession more diverse and inclusive."

SeeEx.I,p.7,2.

       14.     Like the federal government, Perkins Coie formally recognizes Martin Luther King

Jr. Day and Juneteenth as firmwide holidays, reinforcing the Firm's commitment to racial equity

through institutionalized reflection, education, and service. The firm encourages attorneys and

staff to engage in volunteer activities on these days, supporting local community organizations

dedicated to advancing racial justice. Perkins Coie also observes many heritage months, including

several that have been recognized by Congress, by conducting programming aimed at fostering

awareness and appreciation of diverse cultural narratives. These include, but are not limited to,

Black History Month, Asian American and Pacific Islander Heritage Month, Women's History

Month, Pride Month, and Hispanic Heritage Month. These initiatives are complemented by firm-

wide speakers, panel discussions, and presentations open and available to all Perkins Coie

personnel designed to encourage meaningful dialogue on diversity-related topics. These programs

benefit all of the firm's personnel, and we believe they make for a more cohesive and effective

working environment.

       15.     Perkins Coie's hiring and promotion decisions are merit-based, meaning all

candidates are evaluated equally based on the same metrics: qualifications, competencies,

personality, and demonstrated excellence. The firm's hiring committee and interviewers undergo
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training on best practices for inclusive hiring, mitigating implicit biases, and fostering fair

opportunities. Perkins Coie does not have "percentage quotas" as part of its hiring practices.

           16.   Perkins Coie has a Diversity & Inclusion Fellowship program that is expressly open

to all first-year law students. See Ex.2, p. 3.

           17.   Following litigation initiated by the American Alliance for Equal Rights in2023,

the firm explicitly affirmed the inclusive nature of the fellowship to ensure continued adherence

to principles of faimess and legal compliance. After the fitm's confirmation that the law student

fellowships were open to all, the American Alliance for Equal Rights voluntarily dismissed its

lawsuit.

C.      Interaction with the Federal Government

           18.   Perkins Coie is constrained by Rule 1.6 of the Model Rules of Professional Conduct

and attorney-client privilege, and thus cannot disclose client engagements without authorization.

No client has authorized Perkins Coie to disclose its engagement of the firm in connection with

this litigation, and this section therefore contains information about the Firm's practice without

revealing confi dential details.

           19. As a fuIl-service law firm that represents clients in all sectors of the economy in
transactional, litigation, and regulatory matters, Perkins Coie lawyers necessarily interact with the

federal govemment on behalf of their clients in innumerable ways. Those interactions are critical

to their ability to practice their profession; they are the waters the Perkins Coie attomeys swim in,

the air they breathe. If allowed to go into effect, the Order's restrictions would be devastating and

irreparable. Most of the firm's litigation practice is in federal court on behalf of their clients in

civil and criminal cases, as well as in federal agencies' in-house administrative proceedings. As

of March 77, 2025, the firm had nearly a thousand cases cuffently pending before federal district,
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bankruptcy, and appellate courts, including the Supreme Court of the United States. Its attorneys

have upcoming appearances scheduled before agencies and in courtrooms, including an upcoming

argument before the Supreme Court (another one has occurred since March 11).

       20.     Perkins Coie represents clients who have been indicted or are the targets ofpending

federal criminal investigations. Over the past five years, the firm has represented more than 80

individuals and companies who have been criminally investigated, charged, andlor prosecuted by

federal authorities at the Department of Justice. This list does not include the firm's work in federal

criminal-adjacent areas, such as clemency petitions or other post-conviction relief beyond direct

appeals, such as pardons or compassionate release.

       2I.     The firm has nine main practice groups, and all of them intersect with the federal

goverrrment in some way and include clients with business before the federal government. The

largest practice groups by headcount are Commercial Litigation, Business, and Intellectual

Property, which together account for approximately 75Yo of the firm's attorneys. The smallest

practice group by headcount is Political Law. Today, Perkins Coie's Political Law Group includes

approximately 8 attorneys, plus approximately 19 attorneys who are members of other practice

groups and also affiliated with the practice. I understand the March 6,2025 Executive Order and

Fact Sheet at issue in this proceeding to refer to former members of the Political Law Group, albeit

not by name. Although the firm's Political Law practice has historically been much smaller than

our other practice groups, it also substantially shrank in202l when Marc Elias and about 50 other

attorneys left Perkins Coie to form the Elias Law Group. This practice group historically has

handled a mix of paying and some pro bono cases, and it is often called on to advise clients

(typically corporations and business organizations) on political finance issues. It accounts for
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about 0.5% of the firm's revenue. Perkins Coie attomeys work on these matters because they

involve important legal rights and issues affecting our clients.

        22.     In the course of their representations, Perkins Coie lawyers frequently meet with

federal officials from countless agencies. Although it is difficult to quantiflz precisely, based on a

review of our current client matter list, the vast bulk of our clients have matters that require Perkins

Coie lawyers to interact with federal agencies.

        23.     For instance, a significant number of Perkins Coie clients are, or have affiliates who

are, government contractors and subcontractors-including 100% of its top I 5 clients by revenue.

SeeEx.3 (identifuing rsvenue from top 15 clients). I have also reviewed records from the Federal

Procurement Data System (FDPS) to confirm that each of these clients, or their affiliates, are

government contractors.

        24.     The firm's Govemment Contracts group handles clients' bid protests and disputes

surrounding contract claims, including transactional work and litigation. Perkins Coie represents

some of these clients in connection with goverrrment contract matters. As of March 11,2025, the

approximately nine attomeys in this group were handling approximately 70 govemment

contracting matters involving various federal agencies. But there are many other firm clients that

have govemment contracts and who have engaged Perkins Coie to represent them in matters

unrelated to their government contracts.

        25.     The firm's Intellectual Property group and its clients also depend heavily on access

to and interaction with the federal government. The approximately 236 attomeys in this group

frequently represent patent applicants, patent owners, and patent challengers before the U.S. Patent

and Trademark Office (USPTO) in patent prosecution and post-grant proceedings, including in

administrative trials before the Patent Trial and Appeal Board. As of March 77,2025, Perkins
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Coie was representing clients in approximately 5,415 pending patent applications before the

USPTO. Perkins Coie was also representing clients in approximately 56 active post-grant

proceedings (i.e., administrative trial proceedings) before the Patent Trial and Appeal Board

(PTAB), and clients in approximately 11 active proceedings before the Intemational Trade

Commission (ITC). Perkins Coie was also representing clients in trademark and copyright matters

before agencies, including approximately 66 matters before the Trademark Trial and Appeal Board

(TTAB), approximately 1,960 pending trademark matters before the USPTO, and approximately

145 pending copyright matters before the Copyright Office. Many of those patent and trademark

clients also are known to have contracts with the federal government.

       26.     Perkins Coie has approximately 340 attomeys in its Business group. That practice

group includes subgroups directed to financial regulation, which requires them to engage with

federal financial regulatory agencies and instrumentalities (such as the Federal Deposit Insurance

Corporation and the Office of the Comptroller of the Currency); intemationaltrade,which involves

interaction with and practice before the Department of Commerce and the Intemational Trade

Commission; and tax, which involves interaction with the Internal Revenue Service. As of March

7I,2025, the intemational trade group also had approximately 17 pending matters before the

Department of Labor and approximately 22 pending matters before U.S. Citizenship and

Immigration Services. The group's corporate and securities practice regularly represents clients

before and in connection with the Securities and Exchange Commission (SEC), including No

Action Request Letters, Securities Act registration statements subject to SEC review, and

Exchange Act filings. The Business Group also represents clients before or in connection with the

Department of Agriculture, the Food and Drug Administration, Department of Transportation,

Department of Justice, Depaftment of Homeland Security, and Department of State.
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        27   .   The firm's White Collar & Investigations practice (a subgroup of the Commercial

Litigation group) includes approximately 29 attorneys and is almost exclusively reliant on

interacting with the federal government. That practice involves representing clients in

investigations and after indictments in numerous proceedings involving many agencies of the

federal government, including the Department of Justice, Federal Bureau of Investigation (FBI),

U.S. Attomey's Offices, and SEC, among others.

        28.      There are many other practice groups and subgroups at Perkins Coie that interact,

by necessity, with the federal govemment on behalf of our clients. These groups include, but are

not limited to, Commercial Litigation (with subgroups including Appeals, Issues & Strategy;

Construction; and Antitrust); Environment, Energy & Resources; Labor & Employment; Private

Client Services; Product Liability; and Real Estate &Land Use. In summary, much of our work

on behalf of our clients requires access to federal government buildings, which house both

courthouses and agencies. This is true of every practice group at the firm. And certain of these

practice areas, such as White Collar & Investigations, are almost exclusively reliant on interacting

with the federal govefirment. Each of our nine major practice groups relies on clients who have

done business with the federal government. Such clients or their corporate affiliates account for a

significant fraction of revenue in each practice group, as evidenced by the top 15 clients in each

practice group (84% of revenue from top 15 clients in Business from those that have or whose

corporate affiliates have government contracts; 90o/o for Commercial Litigation; 88% for

Intellectual Property; 51Yo for Environment, Energy & Resourc es; 7 5Yo for Labor & Employment;

44oh for Political Law1' 5lo/o for Private Client Services; 94o/o for Product Liability; 32o/o for Pteal

Estate &Land Use). See Ex. 4 (listing revenue from top 15 clients in each practice group). I have
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also reviewed records from the FDPS that confirm the percentage of these clients, or their affiliates,

that are govefflment contractors.

       29.     As of March 77,2025, by way of non-exhaustive example, our records show that

Perkins Coie has active civil and criminal matters on behalf of its clients involving at least the

following federal agencies, which require them either to interact with or appear before federal

government officials:

           o Administration for Strategic Preparedness and Response
           o Advisory Council on Historic Preservation
           o Biomedical Advanced Research and Development Authority
           o Bonneville Power Administration
           o Bureau of the Census
           o Bureau of Economic Analysis
           o Bureau of Indian Affairs
           o Bureau of Industry and Security
           o Bureau of Land Management
           o Bureau of Ocean Energy Management
           o Bureau of Reclamation
           o Bureau of Safety and Environmental Enforcement
           o CHIPS Program Office
           o Committee on Foreign Investment in the United States
           o Commodity Futures Trading Commission
           o Consumer Financial Protection Bureau
           o Defense Contract Audit Agency
           o Defense Contract Management Agency
           o Defense Logistics Agency
           . Dspartment of Agriculture
           . Department of the Army
           o Department of Commerce
           o Department of Defense
           o Deparlment of Energy (including Oak Ridge National Laboratory)
           o Department of Health & Human Seruices
           o Deparlment of Homeland Security
           o Depaftment of the Interior
           . Department of Justice (including Antitrust, CCIPS, Civil, Fraud)
           o Department of Labor
           o Department of State
           o Department of Transportation
           o Department of Toxic Substance Controls
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    o Department of the Treasury
    . Department of Veterans Affairs
    o Directorate of Defense Trade Controls
    . Drug Enforcement Administration
    o Environmental Protection Agency
    o Equal Employment Opportunity Commission
    o Executive Office of the President (including CEQ, OMB, and OSTP)
    . Fannie Mae and Freddie Mac
    o Federal Aviation Administration
    . Federal Bureau of Investigation
    o Federal Bureau ofPrisons
    o FederalCommunicationsCommission
    o Federal Deposit lnsurance Corporation
    . Food & Drug Administration
    o Federal Election Commission
    o Federal Emergency Management Agency
    . Federal Energy Regulatory Commission
    . Federal Highway Administration
    . Federal Permitting Improvement Steering Council
    . Federal Transit Administration
    . Financial Crimes Enforcement Network
    o Financial Industry Regulatory Affairs (FINRA)
    o Government Accountability Office
    o Grid Deployments Office
    o Housing and Urban Development
    o Internal Revenue Service
    o International Trade Administration
    o Loan Programs Office
    o National Institutes of Health
    o National Labor Relations Board
    o National Marine Fisheries Service
    o National Oceanic and Atmospheric Administration
    o National Park Service
    o National Renewable Energy Lab
    . Office of Clean Energy Demonstrations
    . Office of Federal Contract Compliance Programs
    . Office of Foreign Assets Control
    . Office of the Comptroller of the Currency
    . Offrce of the U.S. Trade Representative
    o Pacific States Marine Fisheries Commission
    o Patent Trial & Appeal Board
    o Rural Utilities Service
    o Securities & Exchange Commission
    o Small Business Administration
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           o Trademark Trial & Appeal Board
           o U.S. Army Corps of Engineers
           . U.S. Attorney's Offices
           o U.S. Copyright Office
           o U.S. Citizenship and Immigration Services
           . U.S. Customs and Border Protection
           . U.S. Fish & Wildlife Service
           o U.S. Forest Service
           o U.S. Immigration and Customs Enforcement
           o U.S. International Trade Commission
           o U.S. Patent & Trademark Office
           . U.S. Postal Inspection Service
           o U.S. Secret Service
       30.     The firm's pro bono work is frequently before federal agencies or involves

interacting with federal govemment officials. For instance, Perkins Coie attomeys represent

individual veterans pro bono in obtaining benefits before the Department of Veterans Affairs and

the Department of Defense. As of March 11,2025, Perkins Coie had approximately 4I open pro

bono matters for individual veterans matters, the majority of which are related to seeking higher

levels of benefits for veterans in connection with their service to this country, such as application

for combat-related special compensation (before the Combat-Related Special Compensation

Board); discharge upgrade petitions; and appeals to the U.S. Court of Appeals for Veterans Claims.

In the past five years, Perkins Coie has handled 90 matters for individual service members. Perkins

Coie was honored with the 2023 Yeterans Heroes Law Firm Award by the Attorney General of

Washington's Office of Military and Veteran Legal Assistance (OMVLA). That award recognizes

the law firrn that provided the greatest contribution to OMVLA in any given year. The National

Veterans Legal Services Program (NVLSP) also selected a Perkins Coie attorney to receive the

2020 NVLSP Lawyers Serving Warriors Excellence Award. The entire veterans-rights practice

requires access to federal officials and buildings. Perkins Coie attorneys also represent disaster

victims on a pro bono basis in FEMA applications and appeals. Perkins Coie attomeys represent
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pro bono clients in social-security matters, including SSI and SSDL Perkins Coie represents

several nonprofits pro bono for a range of matters, including obtaining federal tax exemptions,

formation, and counseling. And Perkins Coie represents pro bono low-income inventors with

patent applications before the USPTO, and assists organizations and small businesses in registering

trademarks. Further, Perkins Coie attorrreys have represented pro bono religious organizations,

including Jewish and Catholic organizations.

       31.        Much of this pro bono work is not "political." Our analysis indicates that only

about 20oh of the pro bono matters, and 35Yo of the pro bono time spent over the past year, were

attributable to cases that might be viewed as "politica\" - i.e., cases involving transgender service

members, homelessness, immigration, reproductive rights, the First or Second Amendments,

elections, discrimination, or right to die. By contrast, 80yo of Perkins Coie's pro bono matters,

and nearly two-thirds of its pro bono hours over the past year, were devoted to non-political matters

such as veterans, domestic abuse, Criminal Justice Act appointments to represent indigent

defendants, Social Security disability payments, patents and trademarks, business and non-profit

tax counseling.

       32.        Examples of the type of pro bono work that might be considered "political" include:

1) a challenge to a state law that prevented pregnant individuals from using midwives that employ

traditional healing practices for prenatal, matemal, and infant care; 2) assisting a faith-based

"crisis" pregnancy resources center in a lease dispute; and 3) assisting a deported veteran-who

had lived in the United States as a lawful permanent resident since the age of five-in returning to

the United States through humanitarian parole.
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D.     Recent Relevant Litigation

       33.     In 2020, Perkins Coie represented a number of clients opposing then-candidate

Trump's challenges to the results of the 2020 Presidential Election. The firm's clients prevailed

in all but one of the challenges brought by the Trump campaign seeking to overturn the results of

the2020 election,2 and the firm's clients also prevailed in a significant number of voting rights

cases, including cases where our clients were successful in upholding existing laws against

challenges by lawyers for the other party. The profession's ethics rules would generally not allow

us to represent candidate Trump's interests once we had been retained adverse to those interests.

       34.     On March 24, 2022, Donald Trump sued a host of defendants, including Perkins

Coie, Hillary Clinton, the Democratic National Committee, Fusion GPS, and former Perkins Coie

partners Michael Sussmann and Marc Elias in the U.S. District Court for the Southem District of

Florida alleging that the defendants "maliciously conspired to weave a false narrative" that Mr.

Trump was colluding with Russia. See2:22-cv-I4I02 (S.D. Fla.). Mr. Trump asserted civil RICO

claims against Perkins Coie for conspiring with the Clinton campaign and sought to recover

damages in excess of $24 million, before trebling, as well as attomey's fees and lost profits. On

September 9,2022, the court dismissed the lawsuit with prejudice. Trump v, Clinton, 626F. Supp.

3d 1264 (S.D. Fla. 2022).

       35.     On February 6,2025, Perkins Coie filed a lawsuit, Shillingv. Trump, No. 2:25-cv-

241 (W.D. Wash.), on behalf of Commander Emily Shilling, Commander Blake Dremann,

Lieutenant Commander Geirid Morgan, Sergeant First Class Cathrine Schmid, Sergeant First

Class Jane Doe, Staff Sergeant Videl Leins, Matthew Medina, and the Gender Justice League


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  The case where Perkins Coie's client did not prevail involved a challenge to the deadline-
November 9 versus November l2-to confirm the identities of first-time voters who voted by mail
in Pennsylvania.
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challenging an executive order by President Trump targeting transgender servicemembers. The

lawsuit challenges the Executive Order as a violation of Plaintiffs' First Amendment, due process,

and equal protection rights. Perkins Coie represents the plaintiffs on a pro bono basis as co-

counsel, along with LarnbdaLegal and the Human Rights Campaign. On February 19,2025,

Perkins Coie, on behalf of its clients, filed a motion for a preliminary injunction asking the court

to bar implementation of the executive order until it could adjudicate the case. The court entered

a preliminary injunction on March 27,2025. Shilling, No. 2:25-cv-241, ECF Dkt. No. 103 (W.D.


Wash.). On January 28,2025, a group of plaintiffs filed an earlier parallel lawsuit challenging

Executive Order 14185. Talbott v. Trump, No. 25-cv-240,Dkt.1 (D.D.C.). Perkins Coie does not

represent those individuals and, beyond monitoring, is not otherwise involved in that litigation.

E.      Security Clearances Held by Perkins Coie Personnel

        36.     At the time of the March 6 Order, our records showed that approximately twenty-

four Perkins Coie lawyers and business professionals held security clearances. These individuals

include a dozen persons with former military or other public selice backgrounds, granted access

to sensitive information by virtue of their commitment to public selice. These individuals also

include and overlap with persons whose access to sensitive information has been granted in the

context of their fulfilling their obligations as lawyers to represent their clients.

        37.     Of the twenty-four security clearance holders, twenty-one received clearance from

the Department of Defense and the other three received clearance from the Department of Justice

and Federal Bureau of Investigation.

        38.     Nine of the security clearance holders received their clearance prior to being hired

by Perkins Coie. Two of those individuals hold clearances in connection with their duties as
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military reservists, and wholly unrelated to their work at Perkins Coie. Four of the twenty-four

individuals with security clearances are non-attorneys.

           39.   One partner received a security clearance on February 72, 2025, after President

Trump's inauguration and approximately three weeks before the Executive Order issued. The

"Adjudication History" in the Defense Information System for Security (DISS) for the partner

reflected "                                       with a determination of Favorable bv DoD CAS

on2025/02112." (emphasis in original). See Ex. 5. All of the factual conclusions recited in Section

1 of the Executive Order occurred before that partner received this security clearance.


           40.   Ten of the security clearance holders were hired at Perkins Coie after the 2016

election.

           4I.   Nineteen of the security clearance holders had no involvement in any of the matters

referenced in the Order or the Fact Sheet. Of the five that did, the security clearances they held

were unrelated to their work on those matters. No security clearance holder had any involvement

in the Fusion GPS matter. No security clearance holder has any involvement with the Shilling

matter. None of the security clearance holders is a primary member of the Political Law Group.

           42.   Perkins Coie previously (but no longer) maintained a secure area with a low

classification level, namely a secure working environment, but that secure area was closed prior

to the issuance of the Order. As described below, Perkins Coie has never maintained a Sensitive

Compartmented Information Facility (SCIF) and has no record of FBI agents working out of its

offices.

F.         Irreparable Harm Caused by the Order and Its Enforcement

           43.   On March 6,2025, President Donald J. Trump signed the Executive Order 14230

titled "Addressing Risks from Perkins Coie LLP." See https://www.whitehouse.gov/presidential-
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actions/2025103/addressine-risks-ftom-perkins-coie-llp/     (90 Fed. Reg. 11,781) (the "Order"). The

Order was accompanied by a "Fact Sheet" issued the same day that purports to explain and support

the Order. Perkins Coie was given no notice of, nor an opportunity to respond to, the false charges

in the Order and Fact Sheet or to explain their inevitable impact on the firm before they were

issued, and no effort was made to alter the Order or Fact Sheet after our TRO pleadings pointed

out many fundamental (and still unrebutted) errors. Numerous bar groups, law schools, law firms,

and lawyers have spoken out against the Executive Order's plain unconstitutionality.

        44.     We of course are constrained under Rule 1.6 of the Model Rules of Professional

Conduct and attomey-client privilege, but we can report general facts and facts known to the

government. The day after the Executive Order, an official of a federal agency informed a client

of Perkins Coie that, because of the Order, the client's Perkins Coie lawyers should not attend a

scheduled meeting with an office in that agency to discuss a pending matter. The client had

engaged Perkins Coie to defend that client in that enforcement action, and Perkins Coie performed

substantial work on the matter, totaling over $1 million in fees, and interacted with the agency on

this matter in the interim. The client, after expressing great reluctance and regret, said it was forced

to hire other law firms to represent it before the federal govefirment and in related litigation.

        45.     On March 6,2025, an attorney in the Fraud Section of the Criminal Division of the

U.S. Department of Justice, informed Perkins Coie that the Fraud Section of the Criminal Division

could not proceed with a previously set meeting relating to another Perkins Coie client, citing the

need to wait for further guidance on whether that meeting could even occur in light of the Order.

SeeEx.6.

        46.     It is inconceivable that the Order could constitutionally ban Perkins Coie's access

to federal courthouses, but because it might be interpreted to do so, the firm has already been
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forced to incur additional costs in securing backup personnel to attend impending hearings.

Perkins Coie will continue incurring such harm if the Order's enforcement is not permanently

enjoined because Perkins Coie attorneys have numerous upcoming appearances before federal

courts and agencies. Indeed, Perkins Coie has nearly a thousand active matters before federal

courts, and has thousands of matters before agencies that require access to federal government

buildings and officials. Refusals by federal officials to meet with Perkins Coie lawyers, or to

permit Perkins Coie lawyers to access federal agencies and buildings, would be devastating to both

Perkins Coie's legal practice and its clients' interests. Even the threat of such lack of access is

surely deterring potential new clients and existing clients from retaining the firm for new matters.

       47.     Similarly, the Order also includes provisions that would require federal agencies to

require government contractors to disclose any relationship they have with Perkins Coie, and to

terminate government contracts for clients as to which Perkins Coie has been hired to perform any

service. Many of Perkins Coie's largest clients (for instance, the top 15 clients, collectively

representing over $343 million in revenue in2024, which represents almost a quarter of the firm's

revenue) or their affiliates have contracts or subcontracts with the federal government, or compete

for such contracts, and many of those companies are represented by the firm for legal matters

completely unrelated to government-contracting matters. See supra fl 23. For many of the firm's

clients, the fact that the firm gives them legal advice is not public information, and the importance

of confidentiality is a reason for attorney-client privilege and Rule 1.6. Accordingly, if enforced,

the Order would seek to require many of these clients to divulge confidential information regarding

their legal representations to the federal govemment, in addition to risking the termination of those

clients' contracts if Perkins Coie has been hired to perform any service related to the contract.
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        48.    Due to the restrictions that the Order imposes on Perkins Coie, and the provisions

directed to the firm's federal contractor clients, several clients have already terminated, or have

communicated that they are considering terminating, their legal engagements with Perkins Coie.

We are in frequent contact with many of our clients, and since the Order, have been in contact with

at least our larger clients every day. The common message is that they want to keep using us but

are reviewing the relationship, their govemment contracts and other government interactions, and

will need to make decisions shortly. This is a rapidly evolving situation, which changes by the

hour. Prior to the TRO, for example, some clients have reported very concerning messages from

goveffrment officials directing them to report business with Perkins Coie, and others are concemed

about that possibility, including:

           a. A seven-year client with seven open matters informed Perkins Coie on March 6,
                2025, within hours of the Order's release, that due to the Order, Perkins Coie cannot

               represent that client in any litigation or before the relevant federal agency.

           b. A major government contractor that has been a firm client for over 35 years
               reassigned two matters to other law firms on March 7,2025.

           c. A government contractor that has been a firm client since 2018 withdrew all work
               from Perkins Coie as a result of the Order as of March 1,2025.

           d. A coalition of four clients had also withdrawn all coalition work from Perkins Coie
               as of March 7,2025 due to the need of the clients to engage with various federal

               agencies-including the DEA, DOJ, and HHS-by the nature of their business.

           e. A major government contractor that has been a firm client since 2021with fifteen
               open matters informed the firm on March 7, 2025 that it is reconsidering its
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                 engagements with Perkins Coie unless something changes in terms of the Order's

                 requirements.

             f. Another client indicated on March 7, 2025 that it is now, in view of the Order,
                 considering other firms instead to represent it in connection with a DOJ

                 investigation.

             g. On March 77, 2025, a longtime client of the firm that had increased its work five-
                 fold over the past three years and had 30 open matters started to reconsider whether

                 to terminate every engagement with Perkins Coie.

            h. Because of the uncertainty created by the Order, and even after the entry of the
                 TRO, many clients have begun requesting frequent updates relating to the Order in

                 order to assess whether Perkins Coie can continue to represent them.

        49.      The abrupt loss of so many longstanding and significant clients across a variety of

business types and practice disciplines in a one-week period is exceptional and abnormal. The

common denominator among these clients is that each one terminated or began reconsidering its

engagements in the immediate aftermath of the Order's issuance. While the TRO stemmed some

of those consequences, a pennanent injunction is necessary to prevent them from resuming and

intensifluing.

        50.      Perkins Coie has already lost significant revenue due to the loss of clients who

terminated their engagernents in the few days since the Order was issued. And the firm has lost

out on new work frorn clients who were considering engaging the firm, but chose not to move

forward with Perkins Coie after issuance of the Executive Order. Like any law firm or business,

Perkins Coie has debts, obligations and expenses. If the Order were to continue and thus cause

current clients to terminate their engagements, and frighten away prospective new clients, it would
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put the firm's solvency and very existence at risk. For instance, if we lost our top 15 clients-each

of whom is a government contractor or a corporate affiliate of one, each of whom we believe is at

risk accordingly-the revenue loss would be devastating because this group alone represented

about a quarter of our revenue in 2024. If the Order is allowed to prevent Perkins Coie from

interacting with federal agencies or entering federal buildings on behalf of its clients, it would pose

an existential risk. The firm is built around representation of clients who interact with the federal

govefilment. We take pride in the loyalty of our partners and associates, but lawyers of their

quality have other opportunities, including the easy one of following their clients to other firms.

Exceptional lawyers are the basis for our reputation and our success.

        51.      The Orderhas also had a chilling effect on Perkins Coie attorneys, who are now

reconsidering how they approach certain matters that require them to appear in federal buildings.

        52.      The Order also threatens Perkins Coie attorneys' right to practice their chosen

profession. That threat is not only to revenue-generating practice, but also to the firm's pro bono

practice, which frequently requires us to appear in federal court or before federal agencies in

criminal, civil, or administrative matters. It is not even clear if TSA officers can process us at

airports.

        53.      The Order has also impacted Perkins Coie's recruiting and, potentially, retention of

our personnel. Since the issuance of the Order, we have had business professional candidates who

have been extended offers question the economic health of the firm and ask if there will be layoffs.

One interviewee asked one of the firm's recruiters questions that the recruiter understood to be

precipitated by the Order. The threat to the Firm's recruitment efforts poses severe consequences

for the health of the firm. Its potential for growth as a business depends on its ability to draw and

retain top talent.
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        54.    The Order increases the potential that Perkins Coie lawyers will leave the firm for

other opportunities in order to preserve their relationships with clients that have government

contracts.

        55.    The Order also interferes with Perkins Coie's employer-employee relationships

because the restrictions are broadly written to include Perkins Coie business personnel.

        56.    The firm currently faces considerable uncertainty regarding which aspects of its

D&I activities and advocacy will result in adverse consequences, even in the face of injunctive

relief. The Executive Order appears to be a command to purge all references to or support of

diversity and inclusion in the workplace. The risks and uncertainty stemming from this Order have

resulted in pausing or pulling back on certain programs and some statements in support of D&I

and the implementation of D&I initiatives. The affected conduct is lawful and consistent with

EEOC guidance at the time those actions were taken.

        57.    For example, press releases and stories more than six months old, including those

touting the firm's D&I advocacy, were already removed from the firm's website (but have been

preserved). Perkins Coie has reassessed and is reassessing other statements and references to its

pro bono and D&I advocacy on its website. The firm similarly has reassessed and is reassessing

statements and references to its D&I advocacy in various advertisements and program brochures,

including considering removal of the following: (1) the phrase "Diversity is Excellence" in an

advertisement; (2) the statement that Perkins Coie is "proud to support" an organization's

"commitment to inclusivity and empowerment of diverse communities," in a program brochure

for an event the firm is sponsoring; and (3) the phrase "Investing in diversity and inclusion is smart

business and helps drive our pursuit of excellence," in a program brochure.
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        58.      The Order has done more than irnpact the finn's messaging on D&I. It has chilled

Perkins Coie's diversity-related programs, not because cefiain measures are required by law, but

because of the need to protect the firm from extralegal pressure. For instance, the Order has

interfered with Perkins Coie's ability to offer fellowships to potential new hires, even though those

fellowships are open to all applicants. Perkins Coie has postponed a showing of a movie regarding

Lilly Ledbetter, sex discrimination and the Fair Pay Act. The firm is considering whether and how

it can or should respond to questions from clients and prospective clients regarding the
demographics of the firm or its lawyers. The Perkins Coie Women's Forum was concerned that

an internal event for first-time attendees to the firm's partner planning conference could be targeted


as impermissible, even though it was open to all conference attendees, because a resource group

was hosting the event, but decided to proceed with the event notwithstanding the uncertainty. And

firm personnel were even unsure whether they can have a reference to "DE&I" in their email

signature block. In short, Perkins Coie is committed to complying with the law as it evolves over

time. But Section 4 of the Executive Order is both unclear and overbroad, far broader than any

change in the law to date. Consequently, it interferes with speech, and tries to intimidate and

distort the firm's advice to clients.

G.      False and Disparaging Statements in the Order

        59.     The Order has also harmed Perkins Coie's reputation in the markets for clients,

lawyers, and staff through its false and disparaging characteizations of the firm and its attorneys,

such as its statement that Perkins Coie is "dishonest and dangerous." Such stigma threatens graye,

mutually-reinforcing consequences, as the Firm's reputation affects its ability to attract clients,

and its ability to attract clients in tum supports its reputation as a top law firm.
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       60.     The Order says many things that are not only inflammatory but also blatantly false.

Most of the allegations were known during the President's first term, and have been (and in many

cases were) adjudicated and dismissed long ago. For example, the Order accuses Perkins Coie of

working to "stsal an election," of "undermining democratic elections, the integrity of our courts,

and honest law enforcement," and of "racially discriminatfing] against its own attorneys and staff,

and against applicants," including through "percentage quotas" and "proudly exclud[ing]

applicants on the basis of race." And it accuses Perkins Coie of "earnings" that "subsidize, among

other things, racial discrimination, falsified documents designed to weaponize the Govemment

against candidates for office, and anti-democratic election changes that invite fraud and distrust."

Those accusations are just plain false and most have already been rebutted through the results of

prior cases. The Order also references "Fusion GPS" in connection with representation of Hillary

Clinton. Though Marc Elias and others at Perkins Coie represented Hillary Clinton in connection

with her presidential campaign, no attomey employed at Perkins Coie for at least the last three

years had anything to do with the engagement of Fusion GPS.

       61.     The Fact Sheet also lists accusations against Perkins Coie. Those descriptions are

inflammatory and baseless. Among other false statements, the Fact Sheet wrongly states:

           a. "Perkins Coie LLP pushed debunked claims of secret Trump-Russia
               communications via Alfa Bank, with attorney Michael Sussmann indicted for lying

               to the FBI about this scheme." A jury unanimously acquitted Mr. Sussmann. The

               Fact Sheet also omits that no one else was involved and that Mr. Sussmann left the

               firm in 2021.

           b. "Perkins Coie LLP has worked with activist donors, including George Soros, to
               judicially ovefiurn enacted election laws, such as those requiring voter
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       identification." Perkins Coie has historically represented both party-affiliated and

       non-partisan clients in litigation over election laws. Many law firms have done the

       same. None of Perkins Coie's election-related litigation was frivolous. Indeed,

       more than half of the litigation was successful after both sides had fulI due process.

       And much of it was defending state election procedures and actions taken by state

       officials.

    c. "A court was forced to sanction Perkins Coie attomeys for unethical lack of candor
       before the court." The Fact Sheet alludes to one minor sanction, collectively,

       $8,700, corurected with a single duplicative motion to supplement the record in a

       Fifth Circuit appeal in a 2021 voting-rights case in violation of a local rule. See

       Tex. All. .for Retired Ams. v. Hughs, No. 20-40643 (5th Cir. Jun. 30, 2021), Dkt.

       No. 127-1. None of the three sanctioned attorneys remains at Perkins Coie. It is

       extremely rare for any of our lawyers to be sanctioned, and we take such matters

       very seriously. This was not a lack of candor.

    d. 'oPerkins Coie LLP hosted an FBI workspace, raising concerns about partisan
       misuse of sensitive data during investigations targeting President Trump." The

       "FBI workspace" rumor was long ago debunked. Perkins Coie did not host an "FBI

       workspace." Rather, like many law firms who represent clients involved in

       national-security issues, the finn wanted to protect national security and thus was

       permitted to install, at its own expense, a single-room Secure Work Environment

       (SWE) when it moved to new offices. The FBI's only involvement was examining

       and approving the security of the space. Perkins Coie no longer has a SWE, and

       the SWE was never an "FBI workspace."
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           e. "Perkins Coie LLP has filed lawsuits against the Trump Administration, including
               one designed to reduce military readiness." This statement impugns Perkins Coie

               for the political and legal positions taken by some of its clients in lawful litigation.

               Specifically, this statement refers to Shilling v. Trump, the pro bono lawsuit

               described earlier representing plaintiffs challenging an executive order by President

               Trump affecting transgender servicemembers despite their love of country and

               equal ability to contribute to military readiness.

                                                *{<*

       62.     I declare under penalty of perjury, on this 2nd day of April, 2025, that the foregoing

is true and correct to the best of my knowledge, information and belief.




                                                       D        J. BURMAN
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        We are intentional and consistent in our efforts to increase the diversity of our workforce and to
        advance the values of diversity and inclusion in the legal profession. Diversity and inclusion are
        key to our culture, our values, and our business strategy. They are fundamental to the way we
        connect with and serve our clients.
        As we consider the Supreme Court decision limiting the consideration of race in university
        admissions, we re-affirm our commitment to building a more diverse and inclusive workplace
        and legal profession. Our methods for fulfilling that commitment may evolve over time as the
        legal landscape changes; our commitment will remain steadfast.


        Objectives
        - Engaging firm leadership in proactive diversity and inclusion
        - Investing in the diversity pipeline
        - Developing programs to address internal and external priorities
https://perkinscoie.com/diversityinclusion                                                                   2/8
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        - Measuring and monitoring our progress and success
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        Strategic Diversity & Inclusion Committee
        Established in 2006, the Strategic Diversity & Inclusion Committee (SDC) develops firmwide
        diversity strategies and policies which are used to guide the implementation of existing
        programs and the creation of new strategic diversity initiatives, with a strong focus on
        recruitment, retention, promotion and community.


        Local Diversity Committees
        We have also established Local Diversity Committees in each office that work to develop
        programming and initiatives designed to address the unique needs of their office and
        communities.


        Resource groups
        Resource groups are a key to the success of diversity and inclusion at the firm. Our resource
        groups develop educational programming, assist with business and professional development
        opportunities, maintain relationships with national minority bar associations and foster
        community. The resource groups are important sources of support, development and
        networking for our diverse lawyers. Below is a list of our resource groups.



        Our Structure
        Our commitment to diversity and inclusion is a goal shared collectively throughout the firm,
        which is why we have created a committee structure that allows all stakeholders to participate.




https://perkinscoie.com/diversityinclusion                                                                3/8
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               Resource Groups

                  African American/Black Lawyers

                  Asian Pacific Islander Lawyers

                  Latinx Lawyers

                  Lawyers with Disabilities


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                  Lesbian, Gay, Bisexual and Transgender (LGBTQ+) Lawyers

                  Native American Lawyers

                  Parents and Caregivers

                  South Asian/Middle Eastern Lawyers

                  Veterans

                  Women’s Forum

                  Women of Color




        Awards
        - Awarded
          2024
                   Mansfield 7.0 Certification Plus for Diversity Leadership from Diversity Lab, 2022-


        - Named   among the "Best Law Firms for Women" by Working Mother/Flex-Time Lawyers,
          2008, 2009, 2011-2022

        - Received  a score of 100% in the Corporate Equality Index and designation as one of the
          "Best Places to Work" from the Human Rights Campaign Foundation (the educational arm of
           the nation’s largest advocacy group for LGBT Americans), 2009-2025

        - Ranked  among ChIPs Honor Roll Firms for gender diversity in Intellectual Property practices
          in the 2021 Inclusion Blueprint Survey, a joint initiative between ChIPs and Diversity Lab




        Partnerships and Sponsorships

https://perkinscoie.com/diversityinclusion                                                                5/8
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        - Leadership Council on Legal Diversity
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        - Corporate Counsel Women of Color
        - Charting Your Own Course
        - Diversity & Flexibility Alliance
        - Hispanic National Bar Association
        - Just the Beginning Foundation’s Summer Legal Institute
        - LAMBDA Legal National Sponsorships
        - Minority Corporate Counsel Association
        - National Asian Pacific American Bar Association
        - National Bar Association
        - National Black Law Students Association
        - LGBTQ+ Bar Association Lavender Law Conference & Career Fair
        - National Native American Law Students Association
        - North American South Asian Bar Association
        - Out and Equal Workplace Summit
        - Practicing Attorneys for Law Students Program, Inc.
        For questions, please contact Diversity&Inclusion@perkinscoie.com.




        People
                                                             Impact
        Industries
                                                             Careers
        Services
                                                             Job Openings
        Locations
https://perkinscoie.com/diversityinclusion                                                                6/8
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        Our firm culture is built on collaboration and mutual respect. Once an attorney becomes part of
        our community, we want them to feel welcome and prepared to participate at every level of
        engagement necessary for success. This is why the firm supports inclusive resource groups
        for women, lesbian, gay, bisexual and transgender attorneys, lawyers with disabilities,
        veterans, parents, caregivers, and lawyers of color (African American/Black, Latinx, Asian
        American/Pacific Islander and South Asian/Middle Eastern). In order to increase the diversity of
        backgrounds, experiences and perspectives within the firm, these resource groups offer
        opportunities for fellowship, support and networking. In addition, local office diversity
        committees offer programs and events that respond to the specific and unique needs of their
        communities, while the firm as a whole also hosts national programs and retreats aimed at
        providing all attorneys with the information and tools they need to succeed.


        Recruitment Activities & Programs
        Our recruitment efforts include building supportive relationships with organizations, hosting job
        fairs, and offering programs designed to educate and expose students to the legal profession.


https://perkinscoie.com/diversityinclusion                                                                  2/6
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        Diversity & Inclusion Fellowship Program


          Overview
          At Perkins Coie, we foster a diverse and inclusive community where opportunities to succeed
          are available to all. Embracing diversity allows us to draw from different backgrounds and
          experiences, enabling us to attract the best talent to our ranks, and in turn build strong teams
          that provide excellent service to our clients. We are committed to creating an environment in
          which all our people thrive because they feel a sense of belonging.
          We are proud to offer our Diversity & Inclusion Fellowship Program as part of our
          comprehensive, firmwide commitment to advancing diversity, equity, and inclusion.
          Our Diversity & Inclusion Fellows are full participants in our summer associate program and
          must spend the first 10 weeks of their summer(s) with Perkins Coie. In addition to receiving a
          summer associate salary, Fellows will also receive a $15,000 stipend at the conclusion of
          their first-year summer Fellows who return as 2Ls will receive a $15 000 stipend at the
          Application Process and Criteria
          All students who are in good standing in their first year at an ABA-accredited law school are
          eligible to apply for the Diversity & Inclusion Fellowship Program. Perkins Coie is an Equal
          Opportunity Employer and welcomes applications for the Diversity & Inclusion Fellowship
          Program from all eligible applicants regardless of race, color, religion, sex, age, national
          origin, veteran status, sexual orientation, gender identity / gender expression, disability
          status, or any other identity.
          A complete application must include:

          - Current resume.
          - Cover letter.
          - Undergraduate and law school transcripts (unofficial versions are acceptable).
          - A legal writing sample (10-page maximum).
          - Anarrative
               personal statement (one-page, single-spaced). The personal statement should be a
                       describing your academic, professional, and life experiences and, where
             relevant, identifying connections between those experiences and the broader goal of
             advancing diversity, equity, and inclusion in the legal profession.
          We evaluate all applications for the fellowship and consider the following factors:

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          - Academic
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                       Achievement – A demonstrated record of academic achievement and excellent
            writing and interpersonal skills, as well as experience that will contribute to a successful
             career in the legal field.

          - DEI Leadership – Engagement in efforts to advance diversity, equity, and inclusion within
            the community and/or legal profession, including during college or law school.




        Retention Programs and Activities
        Perkins Coie recognizes the importance of retention in advancing diversity and inclusion, and
        we work diligently to invest in the success of our lawyers across the firm. Our retreats are an
        important retention tool that provide our attorneys opportunities to strengthen relationships
        with one another and our clients in a professional development setting.




https://perkinscoie.com/diversityinclusion                                                                 4/6
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        All Women Lawyers Retreat
        The retreat serves as an opportunity for participants to network with other attorneys from all
        levels, offices and practice groups within the firm, and to share best practices on navigating
        the law firm culture. The presentations and events offered at this two-day retreat provide the
        participants with various tools to help advance their career.


        Lawyers of Color/LGBTQ+/Lawyers with Disabilities and Veterans Retreats
        These retreats bring together many of the firm's attorneys to discuss, embrace, and celebrate
        diversity and allyship in an inviting environment. Many of the retreat’s sessions and
        presentations are open to attorneys of all levels, with tracks specific to the programming that
        coincides with where the attorney currently is in their career. This distinction allows for time
        focused on professional and business development skills particular to the career stage of the
        attorneys. In addition to the networking opportunities provided at different presentations and
        mixers, attendees also have the opportunity to meet other lawyers in their specific practice
        groups and create new and build upon existing relationships.




        People                                               中文网站

        Industries                                           Alumni

        Services                                             Blogs

        Locations                                            Client Updates

        Impact                                               Podcasts

        Careers                                              Publications

        Job Openings                                         News Room

        Perkins Coie Trust Company                           California Land Use &
                                                             Development Law Report
        Client Advantage

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                                                             Intellectual Property Law
        Perkins on Privacy
                                                             Labor & Employment Law
        Public Chatter
                                                             Litigation
        The Public Company Handbook
                                                             Privacy & Security Law
        Subscribe to Mailing Lists
                                                             Private Client Services
        AI & Machine Learning
                                                             Real Estate & Land Use
        Corporate Law
                                                             Technology Transactions & Privacy Law
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